      Case 19-02812                 Doc 26        Filed 05/09/19 Entered 05/09/19 23:29:00                   Desc Imaged
                                                  Certificate of Notice Page 1 of 5
Information to identify the case:
Debtor 1              Howard H. Harris                                            Social Security number or ITIN   xxx−xx−8021
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Illinois

Case number: 19−02812



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Howard H. Harris

                                                                          For the court: Jeffrey P. Allsteadt, Clerk
           May 7, 2019                                                                   United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 19-02812-DLT
Howard H. Harris                                                                        Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
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                               Form ID: 318                 Total Noticed: 106


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 09, 2019.
db             +Howard H. Harris,    2004 Valley Lo Lane,     Glenview, IL 60025-1723
27504273       +Accurate CNC Machining Inc,     5365 Edith Ln.,    Roscoe, IL 61073-9573
27504274       +Acme Finishing Co.,    1595 Oakton St.,     Elk Grove Village, IL 60007-2149
27504275        Agnora, Ltd,    200 Mountain Rd.,    Collingwood, ON L9Y4V5
27504277       +ArcBest - ABF Freight System, Inc.,     PO Box 10048,    Fort Smith, AR 72917-0048
27504278       +Arem Container & Supply Co.,     6153 W. Mulford,    Niles, IL 60714-3420
27504279       +Atlas Crane Service,    PO Box 356,    Batavia, IL 60510-0356
27504285       +BKD CPA’s & Advisors,    233 S. Wacker Dr., Ste. 8300,     Chicago, IL 60606-6339
27504280       +Bake’s Steel Erectors, Inc.,     33243 N. US 45,    Grayslake, IL 60030-2209
27504281        Bank of America,    Business Card,    P.O. Box 15796,    Wilmington, DE 19886-5796
27504283       +Bergst Special Tools, Inc.,     723 W. Annoreno Dr.,    Addison, IL 60101-4315
27504284       +Bianco Glass,    1908 Janke Dr.,    Northbrook, IL 60062-6707
27504286       +Bohle America, Inc.,    10924 Granite St., Ste. 200,     Charlotte, NC 28273-7164
27504287       +Bridge Street Glass,    313 E. Bridge St.,     Covington, OH 45318-1516
27504288       +Bucthel Metal Finishing Corp.,     1945 W. Touhy Ave.,    Elk Grove Village, IL 60007-5315
27504289       +By Land, Inc.,    269 Spring Valley Way,     Round Lake, IL 60073-9543
27504290       +Capitol Rental Building Equipment,     2188 NW 25th Ave. 33142-7121
27504291       +Central Steel & Wire Co.,     3000 W. 51st. St.,    Chicago, IL 60632-2198
27504292       +Century Glass,    801 Golf Ln.,    Bensenville, IL 60106-1512
27504293       +Chamberlin Roofing & Waterproofing,     7510 Langtry,    Houston, TX 77040-6629
27504295       +Chase Auto,    PO Box 901003,    Fort Worth, TX 76101-2003
27504300       +Chase Sapphire Card,    10 South Dearborn Street,     Chicago, IL 60603-2318
27504301       +Chase United Mileage Plus,     Chase Bank,    10 South Dearborn Street,    Chicago, IL 60603-2318
27504302       +Checker Glass Corp.,    5 Commercial Ave.,     Garden City, NY 11530-6417
27504304        Citi Thank you Credit Card,     P.O. Box 790110,    MS 504-A,    Saint Louis, MO 63179-0110
27504305        CitiBank, N.A.,    P.O. Box 790110,    Saint Louis, MO 63179-0110
27504306       +CitiBank/Home Equity Loan,     P.O. Box 790110,    Saint Louis, MO 63179-0110
27504308       +Direct Drive Logistics, Inc.,     11122 W. Rogers St.,    Milwaukee, WI 53227-1140
27504310       +Douglas S. Studt,    2433 Fox Meadow Ct.,     Winnetka, IL 60093-4305
27504311       +Durre Bros. Welding & Machine Shop,     PO Box 39,    Minonk, IL 61760-0039
27504312      #+Dynamex Inc.,    5429 LBJ Freeway, Ste. 900,     Dallas, TX 75240-2664
27504313       +Epic Custom Glass,    3501 Grand Ave., #3,     Glenwood Springs, CO 81601-4711
27504314       +Gary Lubic,    61 Norfolk Ave.,    Clarendon Hills, IL 60514-1242
27504315       +Global Logistics & Procurement,     1200 W. Lake St.,    Chicago, IL 60607-1653
27504316       +Harrison Crane Service,    2440 NW 37th St.,     Miami, FL 33142-5364
27504317        Hi-Tek Logistics, Inc.,    2007 Springbrook Rd.,     Des Plaines, IL 60016
27504320       +Julie K. Harris,    711 Appletree Lane,     Glencoe, IL 60022-1003
27504321       +KDM Meridian,    22541 Aspen St., Ste. C,     Lake Forest, CA 92630-6320
27504322       +Kevin Jones,    249 Signature Dr.,    Bloomingdale, IL 60108-1737
27504323       +KoMaxx, Inc.,    328 Cottonwood Dr.,    Buffalo Grove, IL 60089-2051
27504324       +Lee Quigley Co.,    5301 W. 65th. St., Ste. D,     Chicago, IL 60638-5640
27504325       +Leonard Motor Express, Inc.,     PO Box 696,    New Lenox, IL 60451-0696
27504326       +Lynden International,    2575 Allan Dr.,     Elk Grove Village, IL 60007-6754
27504328       +MBM Metalworks (Americas) Inc.,     1375 Broadway,    New York, NY 10018-7001
27504329       +MBM Metalworks (Americas) Inc.,     1745 Broadway, 17th Floor,     New York, NY 10019-4642
27504338        MRK Industries, Inc.,    4821 Industrial Dr.,     Libertyville, IL 60048
27504327       +Maspeth Welding, Inc.,    59-30 54th St.,     Maspeth, NY 11378-3004
27504330       +McMaster-Carr,    PO Box 4355,    Chicago, IL 60680-4355
27504331       +Meccor industries Ltd.,    3933 Oakton St.,     Skokie, IL 60076-3431
27504332       +Metal Creations Inc.,    2444 N. Pulaski Rd.,     Chicago, IL 60639-2150
27504333       +Metalset, Inc.,    1200 Henlsey St.,    Richmond, CA 94801-1900
27504334        Metropolitan Capital Bank & Trust,     9 East Ontario Street,     Chicago, IL 60611-2709
27504335       +Michael Conway,    100 Roundtop Rd.,    Framingham, MA 01701-3126
27504336       +Mid American Metals,    PO Box 860,    Ozark, MO 65721-0860
27504337       +Mr. Cooper,    8950 Cypress Waters Blvd.,     Coppell, TX 75019-4620
27504339       +Multimetal Products Corp,     3965 Grove Ave.,    Gurnee, IL 60031-2161
27504340      ++NATIONAL LIFT TRUCK INC,    ATTN WALLY SAVAGE,     3333 MT PROSPECT RD,
                 FRANKLIN PARK IL 60131-1337
               (address filed with court: National Lift Truck Inc.,       333 Mt. Prospect Rd.,
                 Franklin Park, IL 60131)
27504341       +Nationstar/mr Cooper,    350 Highland,     Houston, TX 77009-6623
27504342       +OM Log USA Inc.,    1000 Castle Rd.,    Secaucus, NJ 07094-1644
27504343       +On-Time Messenger Service,     1280 N. Route 83,    Bensenville, IL 60106-1034
27504344        Outside Chicago-Indirect Lending,     PO Box 790179,    Saint Louis, MO 63179-0179
27504345       +Peoples Gas,    200 E. Randolph Street, 20th Floor,     Chicago, IL 60601-6431
27504346        Pro Express LLC,    926 1/2 Milwaukee Ave.,,     South Milwaukee, WI 53172
27504347      #+Pro Tect Associates, Inc.,     2165 Shermer Rd., Ste. C,      Northbrook, IL 60062-6734
27504350       +RJ Olmen Company,    3200 W. Lake Ave.,     Glenview, IL 60026-1291
27504348       +Raritan Bay Contracting Inc.,     214 Feltus St.,    South Amboy, NJ 08879-1581
27504349       +Rice Engineering,    105 School Creek Tr.,     Luxemburg, WI 54217-1095
27504351       +Roush Industries, Inc.,    34300 W. Nine Mile Rd.,     Farmington, MI 48335-4706
27504352       +Siteline Interior Carpentry,     25 E. Washington St., Ste. 400,     Chicago, IL 60602-1741
27504353       +Stainless Structurals America,     575 Conroe Park West,    Conroe, TX 77303-1932
27504354       +Stone & Glazing Consulting LLC,     1401 Spinks Rd.,    Flower Mound, TX 75028-4208
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27504355        +Strictly Van Transportation, LLC,     PO Box 0750,   Oak Creek, WI 53154-0750
27504356        +Sunbelt Rentals,   1275 West Mound St.,     Columbus, OH 43223-2213
27504357        +Susan Karkomi,   1418 N. Lake Shore Dr.,     Chicago, IL 60610-1631
27504360       #+Tforce Final Mile,    5429 LBJ Freeway, Ste. 900,    Dallas, TX 75240-2664
27504361        +The Eipel Engineering Group,    241 W. 30th St., 5th Floor,     New York, NY 10001-2823
27504362        +Torstenson Glass Co.,    3233 N. Sheffield Ave.,    Chicago, IL 60657-2271
27504364         U.S. Bank Credit Card,    P.O. Box 790179,    Saint Louis, MO 63179-0179
27504365        +U.S. Bank N.A. as Trustee,    c/o Codilis & Assoc., P.C.,    15W030 N. Frontage Rd., Ste. 100,
                  Burr Ridge, IL 60527-6921
27504371        +US Messenger & Logistics, Inc.,    7790 Quincy St.,    Willowbrook, IL 60527-5532
27504366         Uline Shipping Supplies,    12757 Uline Dr.,    Pleasant Prairie, WI 53158
27504367        +United California Glass & Door,    745 Cesar Chavez,    San Francisco, CA 94124-1211
27504368        +United Rentals, Inc.,    15 Ives Rd.,    Hewlett, NY 11557-2034
27504372        +Vitralum Industries,    1401 E. Higgins Rd.,    Elk Grove Village, IL 60007-1604
27504376        +WW 110 Wall LLC,   115 W. 18th St.,     New York, NY 10011-4113
27504374        +Washington Mutual Business,    1201 Third Avenue, Suite 1000,     Seattle, WA 98101-3038
27504375        +Williams Steel Erectors, Inc.,    12148 Blackthorne Ridge Dr.,     Mokena, IL 60448-8114

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QKRGOODMAN.COM May 08 2019 05:38:00       Karen R Goodman, ESQ,
                 Taft Stettinius & Hollister LLP,    111 East Wacker Dr,     Suite 2800,    Chicago, IL 60601-4277
27504276       +E-mail/Text: American@AABinfo.net May 08 2019 01:58:36        American Adjustment,    73 Field St,
                 Waterbury, CT 06702-1906
27504282        EDI: BANKAMER.COM May 08 2019 05:38:00      Bank of America Credit Card,      P.O. Box 982235,
                 El Paso, TX 79982
27504294        EDI: CHASE.COM May 08 2019 05:38:00      Chase,    P.O. Box 15123,     Wilmington, DE 19850-5123
27504296        EDI: CAUT.COM May 08 2019 05:38:00      Chase Auto Finance,     P.O. Box 901076,
                 Fort Worth, TX 76101-2076
27504297       +EDI: CHASE.COM May 08 2019 05:38:00      Chase Card,     P.o. Box 15298,
                 Wilmington, DE 19850-5298
27504298       +EDI: CHASE.COM May 08 2019 05:38:00      Chase Credit Card,     P.O. Box 15123,
                 Wilmington, DE 19850-5123
27504299        EDI: CHASE.COM May 08 2019 05:38:00      Chase Sapphire,     P.O. Box 15123,
                 Wilmington, DE 19850-5123
27504303        EDI: CITICORP.COM May 08 2019 05:38:00      Citi Advantage Gold,     P.O. Box 6004,
                 Sioux Falls, SD 57117-6004
27504307        E-mail/Text: comedbankruptcygroup@exeloncorp.com May 08 2019 02:00:33         ComEd,   PO Box 6111,
                 Carol Stream, IL 60197-6111
27504309       +EDI: AIS.COM May 08 2019 05:38:00      Directv, LLC,     c/o American InfoSource,
                 4515 N. Santa Fe., Ave,    Oklahoma City, OK 73118-7901
27504318       +E-mail/Text: rev.bankruptcy@illinois.gov May 08 2019 01:59:11
                 Illinois Department of Revenue,    101 W. Jefferson St.,     Springfield, IL 62702
27504319        EDI: IRS.COM May 08 2019 05:38:00      Internal Revenue Service,
                 Centralized Insolvency Operation,    PO Box 7346,     Philadelphia, PA 19101-7346
27504340        E-mail/Text: nltar@nlt.com May 08 2019 01:57:51        National Lift Truck Inc.,
                 333 Mt. Prospect Rd.,    Franklin Park, IL 60131
27504358       +EDI: RMSC.COM May 08 2019 05:38:00      Syncb/steinmart Pllc,     Po Box 965005,
                 Orlando, FL 32896-5005
27504359       +E-mail/Text: mo@terracesupply.com May 08 2019 02:00:44        Terrace Supply Co.,
                 1397 Glenlake Ave.,    Itasca, IL 60143-1140
27504363        EDI: USBANKARS.COM May 08 2019 05:38:00       U.S Bank,    PO Box 6352,    Fargo, ND 58125
27504370        EDI: USBANKARS.COM May 08 2019 05:38:00       US Bank,    PO Box 6352,    Fargo, ND 58125
27504369        EDI: USBANKARS.COM May 08 2019 05:38:00       US Bank,    Po Box 5227,    Cincinnati, OH 45201
27504373       +E-mail/Text: vci.bkcy@vwcredit.com May 08 2019 01:59:39        VW Credit Inc,    2333 Waukegan Rd,
                 Deerfield, IL 60015-5508
                                                                                                TOTAL: 20

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
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                                      Form ID: 318                       Total Noticed: 106


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 09, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 7, 2019 at the address(es) listed below:
              E. Philip Groben     on behalf of Debtor 1 Howard H. Harris pgroben@gcklegal.com,
               bcervantes@gcklegal.com,rrodriguez@gcklegal.com
              James E. Morgan   on behalf of Plaintiff    Metropolitan Capital Bank and Trust jem@h2law.com,
               smckinney@howardandhoward.com
              Joel P Fonferko   on behalf of Creditor    Banc of America Funding Corporation Mortgage
               Pass-Through Certificates, Series 2006-A, U.S. Bank National Association, as Trustee
               ND-One@il.cslegal.com
              Karen R Goodman, ESQ    kgoodman@taftlaw.com,
               il24@ecfcbis.com;sfdocket@shefskylaw.com;nbeagan@taftlaw.com;kgoodman@ecf.axosfs.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
                                                                                             TOTAL: 5
